                UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                      SOUTHERN DIVISION

                     NO.     7:13-CR-40-1-D


UNITED STATES OF AMERICA         )    DEFENDANT’S UNOPPOSED
                                 )    MOTION TO CONTINUE
          VS.                    )    ARRAIGNMENT
                                 )
MONTERIE JUNIOUS                 )

      NOW COMES the Defendant, by and through the

undersigned counsel, and hereby moves this Court for an

Order, continuing the arraignment in this case from July

15, 2013 to a later term of court.     In support of this

motion, the undersigned counsel shows:

 1.    That the Government has charged the Defendant,

       charging him with violations of the Controlled

       Substances Act; and

 2.    That the Defendant is scheduled for arraignment on

       that charge on July 15, 2013; and

 3.    That the undersigned counsel needs additional time to

       prepare and meet with the defendant; and

 4.    That a criminal defendant’s right to counsel includes

       the right to effective assistance of counsel,

       Strickland v. Washington, 466 U.S. 668, 80 L.Ed.2d

       674, rehearing denied, 467 U.S. 1267, 82 L.Ed.2d 864

       (1984);



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5.    That the undersigned counsel was out of the country

      from May 26th until June 2nd; and

6.    That the defendant is being held in Suffolk,

      Virginia, which is approximately four hours driving

      distance (one way) from the undersigned counsel’s

      office; and

7.    That the undersigned counsel’s trial schedule has

      prevented him from traveling to Suffolk to meet with

      the defendant; and

8.    That the undersigned counsel has appeared in the

      district and superior courts of New Hanover,

      Brunswick, and Pender Counties daily; and

9.    That the undersigned counsel has had to prepare

      multiple felony cases for trial during the month of

      June and spent several days in trial in Pender County

      Superior Court during the week of June 24th; and

10.   That the undersigned counsel also is also completing

      a brief for filing with the United States Court of

      Appeals for the Fourth Circuit and has worked upon

      several filings for the North Carolina Supreme Court

      that are due this week; and

11.   That the undersigned counsel has talked with the

      defendant by telephone; and




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12.    That the undersigned counsel, however, needs to meet

       with the defendant to discuss several issues; and

13.    That the undersigned counsel contacted Special

       Assistant United States Attorney Timothy Severo about

       this motion to continue this morning and the

       Government has not responded.

      WHEREFORE, the Defendant, Monterie Junious, by and

 through the undersigned counsel respectfully requests

 that the Court allow the motion and that the Court enter

 an order, continuing the arraignment in this matter from

 July 15, 2013 to a later term of court.

      Respectfully submitted, this the 8th day of July, 2013.



                                    /s/Geoffrey W. Hosford
                                    Hosford & Hosford, P.C.
                                    P.O. Box 1653
                                    Wilmington, NC 28402
                                    (910)251-8333
                                    (910)251-5010(facsimile)
                                    State Bar No. 21239




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                    CERTIFICATE OF SERVICE

      I hereby certify that I have served a copy of this

motion upon the United States by electronically filing the

foregoing with the Clerk of Court on July 8, 2013, using

the CM/ECF system, which sends notification of such filing

to:

           Timothy Severo
           Special Assistant United States Attorney
           310 New Bern Avenue, Suite 800
           Raleigh, NC 27601-1461

      This the 8th day of July, 2013.



                          /s/Geoffrey W. Hosford
                          Attorney for Defendant
                          Post Office Box 1653
                          Wilmington, NC 28402
                          (910) 251-8333
                          State Bar Number 21239




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